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        Attorneys for Defendants
  10    COMMUNITY.COM, INC. and
        MATTHEW PELTIER
  11
  12                        UNITED STATES DISTRICT COURT
  13                       CENTRAL DISTRICT OF CALIFORNIA
  14                              WESTERN DIVISION
  15
       CHARLES BUFFIN, an individual;        CASE NO. 2:20-cv-07552 SVW
  16   MAXWELL LEVINE, an individual;
       STEVEN LEVINE, an individual           DECLARATION OF ALEXIS COLL-
  17                                          VERY IN SUPPORT OF JOINT
                   Plaintiffs,                STIPULATION TO CONTINUE
  18         v.                               TRIAL
  19
       COMMUNITY.COM, INC., a                  Current Trial Date:
  20   Delaware corporation; MATTHEW           June 21, 2022
       PELTIER, an individual; and DOES 1
  21   through 10,                             Proposed New Trial Date:
                                               July 21, 2022
  22
             Defendants.                       Assigned to Hon. Stephen V. Wilson
  23                                                   and Magistrate Judge Jean P.
                                                       Rosenbluth
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   1           I, Alexis Coll-Very, declare as follows:
   2           1.    I am a member of the California bar and a partner at the law firm of
   3   Goodwin Procter LLP, counsel of record for defendants Community.com, Inc. and
   4   Matthew Peltier (together, “Defendants”) in the above captioned case. I am also
   5   lead trial counsel for this matter. I submit this Declaration in support of the Parties’
   6   Joint Stipulation to Continue Trial.
   7           2.    On November 29, 2021, the Parties informed the Court that they had
   8   reached a settlement to resolve this dispute, read the material terms of a binding
   9   short form agreement into the record and committed to agree to a long form
  10   agreement.
  11           3.    Over the next few months, the Parties exchanged multiple drafts of a
  12   long form settlement agreement.
  13           4.    At a status conference on March 21, 2021, the Parties informed the
  14   Court that they still had not finalized the long form settlement agreement because
  15   there was a disagreement about one term of the settlement.
  16           5.    The Court set a bench trial to resolve the settlement dispute for June 21,
  17   2022.
  18           6.    In the intervening months the Parties continued to negotiate the long
  19   form settlement agreement.
  20           7.    By May 27, 2022, the Parties had reached an agreement in principle on
  21   how to resolve the issue that was preventing the Parties from finalizing the long
  22   form settlement agreement in March 2022.
  23           8.    However, on May 27, 2022, Plaintiffs informed Defendants’ counsel
  24   that a third party had raised an issue with Plaintiffs that they believed impacted their
  25   ability to finalize the long form settlement agreement.
  26           9.    I was not aware of this issue when I appeared before this court on
  27   March 21, 2022.
  28           10.    Since May 27, 2022, the Parties have exchanged proposals to resolve


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   1   this new issue involving the third-party.
   2            11.   Based on the current status of negotiations and recent exchanges of the
   3   long form settlement agreement, it is my belief that the Parties are in agreement on
   4   all material terms other than this new third-party issue.
   5            12.   The Parties agree that they will benefit from an extension. It is
   6   Defendants’ belief that it is in the best interest of all Parties, including Plaintiffs,
   7   who are existing shareholders of defendant, Community.com, Inc., to preserve the
   8   company’s resources and not engage in unnecessary submissions and incur
   9   unnecessary legal expenses when all Parties are optimistic that a global resolution
  10   will be reached very soon.
  11            13.   The Parties agree that a brief, one month continuance of the current
  12   trial date will be sufficient time for the Parties to resolve this new issue and finalize
  13   the long form settlement agreement or prepare for trial on this recently identified
  14   issue.
  15            14.   I am available for a trial commencing on July 21, 2022, and have been
  16   informed that Plaintiffs’ counsel is also available on that date.
  17
                Executed on June 10, 2022
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  19                                               /s/ Alexis Coll-Very
  20                                               ALEXIS COLL-VERY
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